                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    at WINCHESTER

  APRIL TELENA MILLER and                      )
  ROGER MILLER,                                )
                                               )
         Plaintiffs/Counter-Defendants,        )
                                               )          Case No. 4:11-cv-26
  v.                                           )
                                               )          Judge Mattice
  NORTHLAND INSURANCE COMPANY,                 )
  INC.,                                        )
                                               )
         Defendant/Counter-Plaintiff           )
                                               )
  v.                                           )
                                               )
  REFA WATLEY d/b/a REFA WATLEY                )
  TRUCKING and LEWIS LEO WATLEY,               )
                                               )
         Defendants/Counter-Defendants.        )

                               MEMORANDUM AND ORDER

         Before the Court is the “Motion for Realignment of Parties” (Doc. 3) (“Mot. Realign”)

  filed by Defendant Northland Insurance Company, Inc. (“Northland”) on April 29, 2011 and

  Plaintiffs’ Motion to Remand (Doc. 10) ("Mot. Remand"), filed June 8, 2011. United States

  Magistrate Judge William Carter filed his Report and Recommendation on the Motion for

  Realignment (Doc. 16) (“R&R”) on November 1, 2011. Plaintiffs filed their Objections (Doc.

  17) on November 15, 2011, and supplemented those objections (Doc. 20) pursuant to

  Eastern District of Tennessee Local Rule 7.1 on December 9, 2011. Northland filed its

  Response to Plaintiffs’ Objections to the R&R (Doc. 21) on December 13, 2011. Plaintiffs

  filed a second supplemental brief (Doc. 23) on January 5, 2012, to which Northland filed

  its Response (Doc. 24) on January 17, 2012. Finally, Plaintiffs filed a Motion for Leave to

  File an Amended Complaint (Doc. 22) on January 5, 2012, to which Northland filed its




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  Response in Opposition (Doc. 25) on January 17, 2012.

         For the reasons explained below, Plaintiffs’ Response and Objection to Report and

  Recommendation (Doc. 17) will be OVERRULED AS MOOT; Magistrate Judge Carter’s

  Report and Recommendation (Doc. 16) will be ADOPTED IN PART AND REJECTED IN

  PART; Defendant Northland’s “Motion for Realignment of Parties” (Doc. 3) will be DENIED;

  Plaintiffs’ Motion to Remand (Doc. 10) will be GRANTED; and this matter shall be

  REMANDED to the Circuit Court of Warren County, Tennessee.

  I.     LEGAL STANDARD

         The Court must conduct a de novo review of those portions of the Report and

  Recommendation to which objection is made and may accept, reject, or modify, in whole

  or in part, the Magistrate Judge's findings or recommendations. 28 U.S.C. § 636(b)(1)(B).

  The Court may also receive further evidence or recommit the matter to the magistrate

  judge with instructions. Id.

         This case is somewhat unique, though, in that the motion under consideration is one

  affecting the subject-matter jurisdiction of the Court. Because “subject-matter jurisdiction

  . . . involves a court's power to hear a case, [it] can never be forfeited or waived,” and this

  Court has “an independent obligation to determine whether subject-matter jurisdiction

  exists, even in the absence of a challenge from any party.” Arbaugh v. Y&H Corp., 546

  U.S. 500, 514 (2006) (internal citations and quotation marks omitted).

         Finally, on a motion for realignment of the parties, “it is the court's responsibility to

  ensure that the parties are properly aligned according to their interests in the litigation . .

  . [and] in accordance with the primary dispute in the controversy, even where a different,



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  legitimate dispute between the parties supports the original alignment.” Cleveland Hous.

  Renewal Project v. Deutsche Bank Trust Co., 621 F.3d 554, 559 (6th Cir. 2010) (internal

  citations and quotation marks omitted) (citing U.S. Fidelity & Guar. Co. v. Thomas Solvent

  Co., 955 F.2d 1085, 1089 (6th Cir. 1992).

         II.    FACTUAL AND PROCEDURAL HISTORY

         A.     The Underlying Accident and Claim

         As perhaps is appropriate in an action seeking a declaratory judgment, the facts of

  the underlying dispute do not need to be recounted at length.

         On February 8, 2007, Northland issued a commercial auto liability insurance to Refa

  Watley – policy no. TN547120 – with limits of $1,000,000 subject to the terms, conditions,

  and exclusions incorporated into the policy and effective February 1, 2007 to February 1,

  2008. (Compl. ¶ 7; Ans. ¶ 7; Ex. A to Compl., Policy # TN547120.) On or about December

  4, 2007, Lewis L. Watley was driving a commercial motor vehicle – a 2000 Kenworth

  tractor, listed in the “Schedule of Automobiles” as VIN IXKAD69X3YR835968 – in

  Montgomery County, New York when a single vehicle auto accident occurred. (Compl. ¶

  11; Ans. ¶ 11.) Plaintiffs allege that Plaintiff April Miller was riding as a passenger in the

  vehicle when the accident occurred and was injured in the accident. Defendant further

  admits that she made a claim related to those injuries, which Northland denied on March

  6, 2008. Plaintiffs seek a declaration that, among other things, adopts their view that April

  Miller was an independent contractor, not an employee.

         B.     Procedural History

         On November 30, 2010, Plaintiffs Roger and April Miller filed the instant “Complaint



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  for Declaratory Judgment to Determine Rights and Liabilities Under Commercial Motor

  Carrier Liability Insurance Policy” (Doc. 1-1) in the Circuit Court of Warren County,

  Tennessee.

                1.     Northland’s Motion to Realign (Doc. 3)

         On April 29, 2011, Defendant Northland Insurance Company, Inc. (“Northland”) filed

  the Notice of Removal (Doc. 1) in this Court, contemporaneously with a “Motion for

  Realignment of Parties” (Doc. 3) (“Mot. Realign”). In that Motion, Northland argues that

  “[d]iversity jurisdiction cannot be determined by the parties' own determination of who

  should be a plaintiff and who should be a defendant” and that “it is the duty of the Court

  to look beyond the pleadings and arrange the parties according to their interests in the

  primary issue in this action.” (Mot. Realign 1.) Northland asserts that “[t]he Sixth Circuit

  follows the ‘principal purpose test’ in determining the proper alignment of parties,” and that

  “[i]n the context of a declaratory judgment action regarding insurance coverage, purported

  insureds and insurers should be aligned as adverse parties.” (Id.)

         Northland then filed its Answer and Counterclaim (Doc. 5) on May 2, 2011. Refa

  Watley d/b/a Refa Watley Trucking and Lewis Leo Watley have not filed a response and

  have yet to appear in this action.

                2.     Plaintiffs’ Response on the Motion to Realign (Doc. 9) and Motion
                       to Remand (Doc. 10)

         Plaintiffs filed their “Response Opposing Motion for Realignment” (Doc. 9) (“Realign

  Respon.”) on June 8, 2011, on which day they also filed their own Motion to Remand (Doc.

  10) (“Mot. Remand”). In their Response on the Motion to Realign, Plaintiffs put forth four

  arguments. First, that Northland should be deemed to be a citizen of Tennessee, a state


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  in which the insured, Refa Watley, is a citizen– because, pursuant to 28 U.S.C. §

  1332(c)(1), this case was a “direct action against the insurer of a policy or contract of

  liability insurance,” and thus Northland “shall be deemed a citizen of every [State] of which

  the insured is a citizen, every [State] by which the insurer has been incorporated; and “the

  [State] where the insurer has its principal place of business.”

         Second, Plaintiffs argue that even if the insured, Refa Watley, is realigned, that

  would not affect the party defendant status of Lewis Leo Watley; as the latter is a citizen

  of Tennessee, the action would still be nondiverse. (Realign Respon. 2.)

         Third, Plaintiffs argue, the “Tennessee Declaratory Judgment Act is Remedial and

  Procedural.” (Realign Respon. 3.) While the substance of this argument is not clear, it

  seems as though they are arguing that, because declaratory judgment is a remedy, not a

  source of an independent claim, one cannot remove an action brought pursuant to the

  Tennessee Declaratory Judgment statute – Tenn. Code Ann. § 29-14-102 et seq. – to

  federal court.

         Fourth, Plaintiffs argued that the “Principal Purpose Test” is not met in this case

  because they “have a pending case in New York against the very Watley Defendants which

  are named in the instant case as Defendants,” and that “[t]here can be little logical doubt

  that the Plaintiffs in both cases cannot be properly aligned as co-Plaintiffs in the instant

  case while also pursuing an action against the Watley parties in the New York case.”

  (Realign Respon. 3.) They also argue that they have “lodged a direct action in paragraph

  numbered ‘14' of the Complaint against the movant, claiming to constitute ‘intended third

  party beneficiaries’ under the terms of an insurance policy.” (Id.) They conclude by arguing

  that “the primary purpose of this action is to determine whether the movant is directly liable

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  to the Plaintiffs pursuant to the terms of the subject policy” and that “[t]he only reason that

  the Watley Defendants were named as parties in the instant Tennessee action is because

  the Tennessee Declaratory Judgment Act [at Tenn. Code Ann. § 29-14-107] requires that

  they be named given their status as potential stakeholders in the outcome.” (Id. at 3-4.)

                 3.     Northland’s Reply on the Motion to Realign (Doc. 11) and
                        Response to Plaintiffs’ Motion to Remand (Doc. 12)

         Defendant Northland filed its “Reply to Plaintiffs’ Response to Motion for

  Realignment of Parties” (Doc. 11) (“Realign Reply”) on June 10, 2011, along with its

  Response to Plaintiffs’ Motion to Remand (Doc. 12). In its Reply Brief, Northland argues

  first that “this is not a ‘direct action’ against an insurer as contemplated by section

  1332(c)(1).” (Realign Reply 1.) Second, it argued, “Defendant Lewis Watley is a purported

  insured under the Northland policy, and should be realigned as a party Plaintiff along with

  the named insured, Refa Watley Trucking.” (Id. at 3.) Northland provides no support for its

  proposition that Lewis Watley “is a purported insured.” Third, it responds to Plaintiffs’

  arguments about the subject matter jurisdiction over declaratory judgments brought

  pursuant to Tennessee’s declaratory judgment statute by stating “[i]t is well settled law that

  a federal court sitting in diversity applies the substantive law of the forum state and federal

  procedural law to adjudicate the dispute.” (Id. at 3-4.) Fourth, it replies that “[c]ontrary to

  the Plaintiffs [sic] assertion, the principal purpose in this action is not to determine whether

  Northland is directly liable to the Plaintiffs pursuant to the terms of the Northland policy.”(Id.

  at 4.) Finally, it replies that – in response to Plaintiffs’ argument that Tenn. Code Ann. §

  29-14-107 requires the Watley Defendants to be named as parties “given their status as

  potential stakeholders in the outcome” – “[t]here is nothing in the referenced statute that


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  requires Refa Watley Trucking and Lewis Watley to be named only as defendants.” (Id. at

  5.) Northland’s Response to Plaintiffs’ Motion to Remand does not contain any arguments

  of substance.

                  4.      Magistrate Judge Carter’s Report and Recommendation (Doc. 16)

         United        States Magistrate Judge William Carter            filed his Report and

  Recommendation on the Motion for Realignment (Doc. 16) ("R&R") on November 1, 2011.

  After briefly recounting (accurately) the facts applicable to this situation, Magistrate Judge

  Carter found that (1) “this declaratory judgment action is not a ‘direct action’ within the

  meaning of Section 1332(c)(1)”; (2)“realignment of the parties as requested by Northland

  would not destroy diversity jurisdiction”; and (3) “the primary dispute is whether Refa

  Watley’s insurance policy with Northland covers April Miller’s injuries in the event Lewis

  and Refa Watley are found liable in the New York state action.” (R&R at 8, 10.)

         On the second point, Magistrate Judge Carter makes two consequential

  observations. First, he bases this decision in part on his analysis of the orientation of this

  action – that is, his belief that “the Millers bring this action on the sole issue as to whether,

  if a judgment is rendered against the Watleys in the New York state action, April Miller will

  be covered under the Northland policy.” (R&R at 8.)

         Second, he drops a footnote after his conclusion that “realignment of the parties as

  requested by Northland would not destroy diversity jurisdiction” that states as follows:

                  The Court understands that the insurance policy at issue is not
                  a “no fault” policy which would not require a later adjudication
                  of the issues of fault on the part of Lewis Watley and liability on
                  the part of Refa Wately before Northland could be required to
                  pay for April Miller’s injuries under the proceeds of the policy.
                  If this were such a “no fault” policy, then the outcome of this
                  motion would be different. If Northland’s policy with Refa

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                Watley was a “no fault” policy, a finding that April Miller was
                covered under the policy would be tantamount to a direct
                action against Lewis and Refa Watley. See Ford Motor Co. v.
                Ins. Co. of N. Am., 669 F.2d 421, 425 (6th Cir. 1982); Bauer v.
                Wausau Business Ins. Cos., 2002 WL 31409863 *2 (S.D. Ohio
                Sept. 5, 2002) (“‘The no fault insurer ...stands in the place of
                the tortfeasor in a manner strikingly similar to that originally
                envisioned by Congress in addressing the direct action
                problem ...’”) (quoting Redmon v. Sumitomo Marine Mgmt.
                (USA) Inc., 179 F. Supp2d 787 (N.D. Ohio 2001).

  (R&R at 8, n.3.)

                5.      Objections to the R&R and the “No Fault” Issue

         Plaintiffs filed their Objections (Doc. 17) (“Pl.’s Objs.”) on November 15, 2011 and

  twice supplemented those objections pursuant to Eastern District of Tennessee Local Rule

  7.1, first on December 9, 2011 (Doc. 20) (“Pl.’s 1st Suppl. Br.”) and second on January 5,

  2012 (Doc. 23) (“Pl.’s 2nd Suppl. Br.”). On December 13, 2011, Northland filed its

  Response to Plaintiffs' Objections to the R&R (Doc. 21) (“Respon. to Objs.”), and, on

  January 17, 2012, its response to Plaintiffs’ Second Supplemental Objections (Doc. 24)

  (“Respon. to 2nd. Objs.”).

         Without going into lengthy and unnecessary – given the resolution of the pending

  motions herein – detail, Plaintiffs seized upon Magistrate Judge Carter’s comment in

  footnote 3 that “the outcome of this motion would be different” if the policy at issue here

  “were [ ]a ‘no fault’ policy” to “raise an objection to the Report and Recommendation

  (Docket Entry No. 16) on the basis that the insurance policy at issue is to be properly

  deemed and construed as a ‘no-fault’ policy by federal, New York and Tennessee law.”

  (Pl.’s Objs. 1.) Briefly, the basis of this objection is that, they assert, New York state, where

  the accident occurred, is a “no-fault” state, insofar as it relates to non-resident motorists


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  and passengers; requires such coverage of trucking companies operating in New York; and

  that the MCS-90 endorsement and the BMC-90 (BMC-91X) endorsements – which help

  effect the Federal Motor Carrier Saftey Regulations (FMCSR) as they relate to this

  interstate no-fault requirement – “requires reimbursement of insurer by insured for monies

  paid,” which is part of the reason that the Watley Defendants’ interests are not aligned with

  those of Plaintiffs.

          Northland’s essential response to Plaintiffs’ objections is that this argument over

  “no-fault” is not a true objection, but rather an attempt to seize on unimportant language

  in the R&R to reargue the merits of the motion or to introduce into the proceedings a new

  argument.1 They also argue that “no fault” is irrelevant to this action and that the FMCSR

  do not create a no-fault regime, although part of their basis for this argument is an

  assumption that April Miller is an employee, one of the very issues to be determined in the

  declaratory judgment action. (Respon. to Objs. 8, n.3.)

                  6.       Other Post-R&R Motions

          Plaintiffs filed a Motion for Leave to File an Amended Complaint (Doc. 22) on

  January 5, 2012, to which Northland filed its Response in Opposition (Doc. 25) on January

  17, 2012.

          These matters are now ripe for review.




          1
             The Court would note that Northland’s statement of the applicable standard of review is incorrect.
  Northland appears to believe that this was an Order on a simple pretrial matter pursuant to 28 U.S.C. §
  636(b)(1)(A) to which Plaintiffs are objecting, but it is clearly a Report and Recommendation pursuant to 28
  U.S.C. § 626 (b)(1)(B), as Magistrate Judge Carter noted in the R&R: “The undersigned has prepared this
  decision as a report and recommendation rather than as an order because the outcome of the motion will
  affect the jurisdiction of the Court making the motion dispositive in nature.” (R&R at 1, n.1.)

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   III.    ANALYSIS

           The Court WILL ADOPT Magistrate Judge Carter’s Report and Recommendation

   insofar as it finds that Northland is not a Tennessee citizen because this is not a “direct

   action” within the meaning of 28 U.S.C. § 1332(c)(1), but the Court WILL REJECT the

   R&R to the extent that it fails to consider Plaintiffs’ arguments that Defendant Lewis

   Watley’s interests are separate from those of Defendant Refa Watley d/b/a Refa Watley

   Trucking.

           As an initial matter, the Court would note that, while the R&R reached the correct

   conclusion that Northland does not share Refa Watley’s citizenship because this is not a

   “direct action” within the meaning of 28 U.S.C. §1332(c)(1), the R&R also seems to have

   ignored that the full (relevant) text of the statute reads as follows: “except that in any direct

   action against the insurer of a policy or contract of liability insurance, whether incorporated

   or unincorporated, to which action the insured is not joined as a party-defendant, such

   insurer shall be deemed a citizen of . . . .” 28 U.S.C. §1332(c)(1) (emphasis added). The

   insured – Refa Watley – is joined as a party-defendant here, thus the statute’s provisions

   would seem not to apply on its face.

           The R&R addresses only Northland’s arguments about the applicability of Section

   1332(c)(1) and the “Primary Purpose” test and does not address at all Plaintiffs’ second

   and third arguments, about the separate interests of Defendant Lewis Watley and the

   potential subject matter jurisdiction issues with the Tennessee Declaratory Judgment Act.2


           2
             Plaintiffs’ Declaratory Judgment argument is not essential to the Court’s holding, but the Court
   would note that this argument may have some merit, in that “[i]t is well-settled that the Declaratory Judgment
   Act cannot serve as an independent basis for federal subject matter jurisdiction.” Mich. So. R.R. Co. v. Branch
   & St. Joseph Counties Rail Users Ass'n., Inc., 287 F.3d 568 (6th Cir. 2002) (citing Skelly Oil Co. v. Phillips

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            Part of the problem with Northland’s Motion for Realignment and the R&R on the

   same is that Northland makes several unsubstantiated statements that are challenged by

   Plaintiffs but unaddressed in the R&R. For instance, in its Motion for Realignment of

   Parties, Northland asserts that “Plaintiff Miller further asserts that the Northland Policy

   provides coverage for the alleged negligence of Refa Watley and Lewis Watley as

   ‘insureds’. See Complaint, pp. 4-5.” (Mot. Realign ¶ 4.) That is not true, however, nowhere

   on either pages four or five do Plaintiffs ever state that Lewis Watley is an “insured” under

   the terms of the policy. Likewise, while Northland attempts to cure this in its Reply by

   stating that "Defendant Lewis Watley is a purported insured under the Northland policy,

   and should be realigned as a Plaintiff party along with the named insured, Refa Watley

   Trucking," as previously noted, it provides absolutely no support for the proposition that

   Lewis Watley "is a purported insured." (Realign Reply at 3.) Further, the R&R fails to

   address this issue.

            This is a crucial error. The entire premise of Northland’s motion is that Refa Watley

   d/b/a Refa Watley Trucking – due to the behavior of her/its employee, Lewis Watley –

   could be liable for Plaintiffs’ costs if the exclusion cited by Northland is found to be valid

   and applicable to Plaintiff April Miller. Lewis Watley’s name does not appear in the Policy




   Petroleum Co., 339 U.S. 667, 671 (1950) as holding that “Congress enlarged the range of remedies available
   in federal courts but did not extend their jurisdiction”). But, it is the Court’s view that it is likely that, just as one
   could respond to a Complaint before removing and assert a defense for failure to state a claim upon which
   relief can be granted pursuant to Tennessee Rule of Civil Procedure 12.02(6) and have that defense
   preserved and converted into a motion to dismiss pursuant to Fed. R. Civ. P. 12(b) (6), so too could a request
   for a declaration of rights pursuant to Tennessee’s Declaratory Judgment Statute be converted to and
   analyzed pursuant to the federal Declaratory Judgment statute, 28 U.S.C. § 2201.

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   or any of the addenda, such as the endorsements, exclusions, etc.3 Further, Northland did

   not supply the Court with any language from the policies indicating why the Court should

   assume that Lewis Watley is a “purported insured” under the Policy. Finally, it is certainly

   not clear to the Court that Lewis Watley’s interests are so aligned with Plaintiffs’ in this

   declaratory judgment action that, even without a finding that he enjoys insured status, he

   should be realigned. In fact, in many ways, it appears as though he would not necessarily

   share her interests.

           The Complaint alleges that negligence on his part caused Plaintiffs’ injuries, and the

   documents attached to the Complaint indicate that he suffered injuries as well. More

   importantly – and contrary to the finding in the R&R that "the primary dispute is whether

   Refa Watley's insurance policy with Northland covers April Miller's injuries in the event

   Lewis and Refa Watley are found liable in the New York state action” – the bulk of the

   declaratory judgment request involves the construction of the term “employee.” Because

   Plaintiffs allege Ms. Miller’s work status – allegedly as an independent contractor – renders

   her an employee (whose injuries are thereby not excluded) and Mr. Watley an employee

   (whose injuries are thereby excluded), it seems as though, as to much of the substance

   of the Complaint for Declaratory Judgment, Plaintiffs’ interests in the construction of that

   term appear to be almost in complete opposition to the interests of Lewis Watley.

           Because Lewis Watley’s status as an “insured” is unclear, because the main thrust


           3
              Though not highlighted by Northland, the Court does observe that there is a “Named Driver
   Exclusion” which provides that “This Insurance does not apply to damages, “accidents,” or “losses” caused
   while a covered "auto" is being operated or used by LEWIS WATLEY whether or not you have given your
   express or Implied permission for this operation or use.” (Doc. 5-3 at PageID# 194.) The Court also notes,
   though, that that language is followed by “You or your authorized representative have accepted this
   endorsement and Indicated your agreement by signing below,” and that there is not any signature after that
   language. (Id.)

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   of the request for declaratory judgment puts Plaintiffs in direct opposition with Mr. Watley,

   and because the complaint appears to put Mr. Watley in at least some conflict financially

   with the Plaintiffs, the Court does not find it appropriate to realign him as a plaintiff.

          Finally, due to the Court’s ruling herein, it is unnecessary for the Court to reach the

   question of the applicability of the “no fault” provisions or the motion to amend. The latter

   is unrelated to the subject-matter-jurisdiction-determinative motions before this Court and

   can be resolved upon remand. As to the “no fault” arguments, while the Court will not reach

   their substance, it will note that Northland is entirely incorrect in accusing Plaintiffs of

   attempting to reargue their motion or raising a new issue. The footnote at issue clearly

   stated that the finding that the insurance at issue was no fault was outcome-determinative,

   but neither of the parties had raised the issue to date. Therefore Plaintiffs were not

   rearguing previous points, nor did they raise a new argument they should have made in

   their response; the “no fault” issue was brought into the discussion by the R&R, and they

   kept their briefs strictly limited to addressing those issues newly-raised in the R&R.

          Accordingly, the Court WILL ADOPT the R&R insofar as it finds that Northland is

   not a Tennessee citizen because this is not a "direct action" within the meaning of 28

   U.S.C. § 1332(c)(1) but WILL REJECT the R&R to the extent that it fails to consider the

   interests of Defendant Lewis Watley separately from those of the actual named insured,

   Refa Watley d/b/a Refa Watley Trucking. Further, Defendant Northland’s Motion for

   Realignment is DENIED as to Mr. Lewis Watley.

          As a final matter, the Court is aware that there is a pending "Counterclaim for

   Declaratory Judgment" (Doc. 5) filed by Northland on May 20, 2011. While none of the



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   parties have addressed this issue, Northland pled the jurisdiction of the counterclaim by

   asserting that "[o]nce Refa Watley and Lewis Watley are properly realigned as party

   plaintiffs per the contemporaneous Motion for Realignment filed by Northland, complete

   diversity of citizenship will exist between Northland and the adverse parties." (Counterclaim

   ¶ 6.) It thereby seems to have been relying on the Court's granting its Motion for

   Realignment to establish jurisdiction for its counterclaim; because the Court will deny that

   motion, the counterclaim’s remand does not impede the remand of the entire action.

   IV.    CONCLUSION

          Accordingly, and for the reasons stated above, Plaintiffs’ Response and Objection

   to Report and Recommendation (Doc. 17) are hereby OVERRULED AS MOOT; Magistrate

   Judge Carter’s Report and Recommendation (Doc. 16) is hereby ADOPTED IN PART AND

   REJECTED IN PART; Defendant Northland’s “Motion for Realignment of Parties” (Doc. 3)

   is hereby DENIED; Plaintiffs’ Motion to Remand (Doc. 10) is hereby GRANTED; and this

   matter is hereby REMANDED to the Circuit Court of Warren County, Tennessee. The Clerk

   is DIRECTED to mail a certified copy of this Order to the Clerk of the Circuit Court of

   Warren County, Tennessee. The Clerk is further DIRECTED to close the file in this case.

          So ORDERED this 31st day of March, 2012.


                                                            /s/Harry S. Mattice, Jr.
                                                           HARRY S. MATTICE, JR.
                                                      UNITED STATES DISTRICT JUDGE




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